   Case 1:17-cr-00034-JRH-BKE Document 332 Filed 01/07/19 Page 1 of 2


                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                               AUGUSTA DIVISION




UNITED STATES OF AMERICA                   *
                                           *


            V.                             *                  CR 117-034
                                           *


REALITY LEIGH WINNER                       *




                                    ORDER




     On December 18, 2018, the Court directed the Clerk of Court

to deposit $4,147.19 into the Registry of the Court.                        The Court's

action was in response to a Motion to Relinquish                          Funds to the

Registry    of the      Court filed       by the         United   States    of     America

('"Government") (doc. no. 329)on November 29, 2018.                      The funds were

initially    relinquished      to   the    Government        by    the    Defendant     in

accordance       with   an   assignment        of   compensation         contained      in

Defendant's      plea   agreement   entered         on    August   23,     2018.      Upon

receipt of the funds, the Government subsequently relinquished the

total sum to the Court.


     Inasmuch as neither party has made any request as to the

ultimate disposition of the funds, the Court will now exercise its

discretion and make appropriate distribution.
      Case 1:17-cr-00034-JRH-BKE Document 332 Filed 01/07/19 Page 2 of 2



       IT IS HEREBY ORDERED, that the Clerk of Court shall distribute

the    sum   of $4,147.19 from       the   Registry   of   the    Court   to   the

following nonprofit recipients exempt under Section 501(c)(3) of

the Internal Revenue Code:


             $2,073.60 to:

             The Community Foundation for the Central Savannah River
             Area, Inc., for the benefit of Friends of Augusta Animal
             Services
             Post Office Box 31358
             Augusta, GA     30903



             $2,073.59 to:

             Columbia County Animal Rescue
             Post Office 1117
             Evans, GA     30809




       ORDER ENTERED at Augusta, Georgia, this                   day of January,

2019.




                                            J. R^NC^ HALL,/ CHIEF JUDGE
                                            UNITED ^ATES DISTRICT COURT
                                            IOUJIHSRN district of GEORGIA
